  Case
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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ----------------------------------------X
      Steven DeNicola individually                   Plaintiff
      and on behalf of all others                                                 Docket No. 11-1192
      similarly situated


       -against-

      Asset Recovery Solutions, LLC
                                                                                * ~h\:·; c3 t012 *
                                                     Defendant                   LONG ISLAND OFFICE

      ---------------------------------------X
                                      STIPULATION OF DISMISSAL

              IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

      the attorneys of record for all parties that whereas no party hereto is an infant,

      incompetent person for whom a committee has been appointed or conservatee and no

      person not a party has an interest in the subject matter of the action, the above-entitled

      action be, and the same hereby is discontinued with prejudice as to the named Plaintiff

      but without prejudice to the putative class members, and without costs to either party.


      Sf JOSEPH MAURO                                   8/30/2011
      Joseph M. Mauro                                   Date
      306 McCall Ave.
      West Islip, NY 11795
      Attorney for Plaintiff

      S/ HILARY KORMAN                                  8/30/2011
      Hilary Korman, Esq.                               Date
      Mel S. Harris & Associates, LLC
      5 Hanover Square 8th Floor
      New York, NY 10004
      Attorney for Defendant
